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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-00041-CMA-BNB

   AHMED KHALFAN GHAILANI,

          Plaintiff,
   v.

   JEFFERSON B. SESSIONS, III, United States Attorney General,
   U.S. ATTORNEY’S OFFICE, SDNY;
   FEDERAL BUREAU OF INVESTIGATION;
   OFFICE OF ENFORCEMENT OPERATIONS;
   FEDERAL BUREAU OF PRISONS; and
   JACK FOX, ADX Warden;

          Defendants.


                   STATUS REPORT CONCERNING PLAINTIFF’S ADDRESS


          The government respectfully provides notice that Mr. Ghailani was recently

   transferred to a different Federal Bureau of Prisons institution. His current address is:

          Ahmed Khalfan Ghailani
          Reg. No. 02476-748
          USP McCreary
          U.S. Penitentiary
          P.O. Box 3000
          Pine Knot, KY 42635

          Undersigned counsel became aware of this move after the Court posted docket

   entry 106, stating that recent mail to Mr. Ghailani had been returned as undeliverable.
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        Respectfully submitted on July 17, 2019.

                                          JASON R. DUNN
                                          United States Attorney

                                          s/ Susan Prose
                                          Susan Prose
                                          Assistant United States Attorney
                                          1801 California Street, Suite 1600
                                          Denver, Colorado 80202
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2019, I directed that the foregoing document be
   served on the following non-CM/ECF participant in the manner indicated by the
   nonparticipant=s name:

          Ahmed Khalfan Ghailani (U.S. mail)
          Reg. No. 02476-748
          ADX – Florence
          P.O. Box 8500
          Florence, CO 81226

          Ahmed Khalfan Ghailani (U.S. mail)
          Reg. No. 02476-748
          USP McCreary
          U.S. Penitentiary
          P.O. Box 3000
          Pine Knot, KY 42635




                                                    s/ Susan Prose
                                                    Susan Prose
